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                                  UNITED STATES DISTRICT COURT
                                    oisiiuur OF NE JERSEY

   UN11E) STATES OF AMERICA                               Hon. Stanley R. Chesler
          V.
                                                  :       irn. No. 089l7 (SRC)
  SUAWN GRIGGS, a/k/a “Sheg”
  DtSMONR SPiGT, ai%1a “n.”                               ORDER FOR CONTINUANCE

          This matter having come before the Court upon an indic
                                                                      tment filed by Ralph J. Marra, Jr.,
  Acting United States Attoniey for the District of New Jerse
                                                              y    (Robert Frazer, AssisW t U.S.
  Attorney, appearing) and defendants Shawn (Jriggs
                                                    (Joho Arta       rdllo, Esq., appearing) and
 Desmood Speight (Michael Pedicini, Bsq., appearing
                                                          ) having been charged with a violation of 18
 U.S.C. Section 21 U.S.C. Section 841(a) (as ve11 as eddf
                                                              tional charges against defendant
 Grigga), application is hariby made for i order granting
                                                              a continuance of the wocecdings in the
 abovo-captioned matter fróai September22, 2009 trough
                                                              November24, 2009 to allow defendant
 Spcigbt additional time to discuss a possible plea disp
                                                         ositi on, to ep for trial and to exteti
 the time for the Govenimeizt to respond to defendan
                                                        ts’ motions, and the defendants being aware
that he has the right to have this matter sii
                                                      to a trial juzy within 70 days of the date of his
arraigmacat puranant to Title 18, United States. Cod
                                                       e, Section 3 161(c)(l), and the defendants
having consented to the continuance and waived such rigbt
                                                          and        for good cause shown,
        iT IS THE FINDING OF THIS COURT that this action shou
                                                                         ld be contind for the
following reasons:

       (I) Counsel for Mr. Speight requests additional time to discu
                                                                    ss a possible plea
disposition;
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          (2) Mditional time       the (3oven,me to file motion reonses and for the p.rtie
                                                                                                            s to
  prepare for trial is requirecl

          (3) The deft dants consent     to   the coutimia     ; and
         (4) ?urjaut to Title 18   of   the United States Code, Section 3 161 (hXS the ends
                                                                                  ),        ofjustice
  served by gring the condnce outigh the
                                                          best interest of the public and the defencWt in a
  speedytriaL
                                               4—
                           if ISon thida           of   August, 2009
         ORDERED that titis action be, d it hereby is, cont
                                                                       inued from September 22, 2009
 through Novernbea 24,2009,

        IT IS FURTHER ORD€REJ) thet all dates for the parti
                                                                         es to file and respond to motions,
 for the motlén hearing and for trial in the oou±t’s Orde
                                                              r Granting Substitution of Attorneys and
 Setting Motion and Trial Dates filed Mardi 31,2009,
                                                              shall be amended as follows:
 ORDERED that:

                I. 1 (3ovezmnent shall rc,ond to dckndants’ moti
                                                                ons on or before Septcaaber
3O,29

                2. The rattan date for pretrial motions shall be Novemb
                                                                                   er 16, 2$O at ii a..
and

                3. Trial shall commence on Novaaber 24, 2$9               at   10:00 am.
       if IS FURTHER ORDER&) tI the period from Sept
                                                                        ember 22,2009 through
November 24, 2009 shell be exciudahie in computing time
                                                                  wthe:                y   Trial A   of   1974.

                                                                                       —

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                                                - Ht))ABIJ1-StA LEY lCFIESLER
                                                  UNfl’ED STATES DISTRICT .TLJDGE
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  I hereby coosent to the fonn
  and city ofthis Order




 -                ICJNI,’




JO!-i AZ7ARtp SQ.
BY: 40J{N ROBWN
                ESQ.
AEIOgNEy FOR DEFENDANT
SHAwN GRIcJGS




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